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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Delaware

36 Builders, Inc., a Delaware corporation, et al.

Plaintiff
v.
Jack Hutchins Haese

Civil Action No. 20-cv-1669 MN

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: NVR, Inc., c/o Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808

"(Name of, ‘person to whom this subpoena is directed)

af Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A attached.

Date and Time:

08/20/2021 5:00 pm

| Place: Faegre Drinker Biddle & Reath LLP, 222 Delaware
Avenue, Suite 1410, Wilmington, DE 19801

 

l oe _l

O) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

| Place: Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT ( / At

OR
Bu Wo, SIS :

Signature of Clerk or Deputy Clerk Attorney's signature

Date: 07/26/2021

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) 36 Builders, Inc.
dba Insight Homes and Insight Land Company, LLC , who issues or requests this subpoena, are:

Joseph C. Schoell, Faegre Drinker Biddle & Reath LLP, 222 Delaware Ave., Ste. 1410, Wilmington, DE 19801; (302)
—467-4200- Joseph Schoell@faegredrinker com

 

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) /naccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ti) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013),
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Civil Action No. 20-cv-1669 MN

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any) NVR, INC.

on (date) (7/26/2021
I served the subpoena by delivering a copy to the named person as follows: NVR, INC.

C/O CORPORATION SERVICE COMPANY, 251 LITTLE FALLS DR., WILMINGTON, DE 19808
ACCEPTED BY: LYNANNE GARES (MANAGING AGENT) ON (date) (7/26/2021 AT 3:30 PM :Or

1 Ireturmed the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

$ a
for travel and $ for services, for a total of $ 0.00

My fees are $

 
 

I declare under penalty of perjury that this i

Date 07/26/2021
Server's signature
PROCESS SERVER

Printed name and title

KEVIN 8. DUNN

BRANDYWINE PROCESS SERVERS, LTD., PO BOX 1360,
WILMINGTON, DE 19899

Server's address

Additional information regarding attempted service, etc.:

SERVED WITH EXHIBIT A
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EXHIBIT A

 
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Subpoena Directed to NVR, Inc.
Documents to be Produced

DEFINITIONS
As used herein, the following terms shall have the following meanings:

1. The term “all documents” means any and every “document,” as defined below,
which can be located, discovered, or obtained by reasonably diligent efforts, including without
limitation all documents possessed by: (a) you or your counsel; or (b) any other person or entity
from whom you can obtain such documents by request or which you have a legal right to bring
into your possession by demanding same.

2. “Document” or “documents” shall be construed broadly and expansively to include
any medium upon which information is kept, however produced, reproduced or stored, in the actual
or constructive possession, custody or control of You, or of which You have knowledge of its
existence, and whether prepared, published or released by You or by any other person or entity,
including but not limited to letters, reports, memoranda, opinions, written advice, agreements,
resolutions, correspondence, intra-office or inter-office correspondence, telegrams, minutes or
recordings of meetings, drafts, revisions, invoices, receipts, notes, sketches, records, ledgers,
contracts, bills, accounting and financial records and data, diaries, journals, calendars, computer
cards, tapes, electronic mail, disks, printouts and other means of electronically stored information.
Such electronically stored information shall include, but is not limited to, electronic mail, instant
messages, word processing documents, including all drafts and final versions thereof, faxes,
voicemails, digital images and graphics, internet usage history, deleted, fragmentary and residual
data, spreadsheets and databases. “Document” also includes the original and any draft thereof and

all non-identical copies of documents and copies upon which notes have been made.
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3. The term “communication” means the transmittal of information (in the form of
facts, ideas, inquiries or otherwise) by email, letter or otherwise.

4. The term “any” includes “all,” and the term “all” includes “any.” Each term shall
be construed in the context of each topic to include more, rather than fewer, documents.

5. The term “relating to” (including any variant thereof), includes referring to,
alluding to, responding to, concerning, in connection with, commenting on or in respect of,
analyzing, touching upon, and constituting, and is not limited to contemporaneous events, actions,
communications, or documents.

6. The terms “You” and “Your” shall mean and refer to NVR, Inc. and shall include
any entity or entities affiliated with NVR, Inc. or under its control, and any of their present or
former representatives, directors, stockholders, members, managers, officers, employees
(including Rick King and James Garrett), agents, accountants, attorneys, or any other person acting
or purporting to act on its behalf.

tn “Haese” means and refers to Jack Hutchins Haese, an individual residing in
Maryland who is a Defendant in this action, and any of his employees, attorneys, representatives
or agents, and any entity or entities affiliated with or owned by Haese.

8. “Insight Homes” means and refers to plaintiff 36 Builders, Inc., doing business as
Insight Homes, and any affiliated entity, including Insight Homes, Inc., and Insight Land
Company, LLC, and each of their present or former representatives, employees, members,
managers, officers, agents, accountants, attorneys, predecessors, successors, assigns, or any other

person acting or purporting to act on their behalf.
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INSTRUCTIONS

For purposes of this Exhibit A to Subpoena, the following Instructions shall apply:

A. These Requests include the production of electronically stored information (“ESI”),
including all metadata associated with the ESI.

B. Each request should be considered as including all copies and, to the extent
applicable, preliminary drafts of documents which, as to content, differ in any respect from the
original or final draft or from each other (e.g., by reason of handwritten notes or comments having
been added to one copy of a document but not on the original or other copies thereto).

C. If any document was, but is no longer, in your possession; was, but is no longer,
subject to your control; or was, but is no longer, in existence, state whether it: (a) is missing or
lost; (b) has been destroyed; (c) has been transferred, voluntarily or involuntarily, to others; or (d)
has been otherwise disposed of. In each instance, explain the circumstances surrounding any
authorization for such disposition, including the date of such disposition; the person(s) responsible
for such disposition; the identity of the person, if any, to whom the document was transferred; and
the policy, procedure, rule, order, guideline, or other authority by, under or pursuant to which such
disposition was made.

D. If a privilege is claimed, identify each matter as to which the privilege is claimed,
the nature of the privilege and the legal and factual basis for each such claim. If such claim of
privilege relates to a document, identify the author, addressee, and all recipients of copies of the
document, setting forth the date and general subject matter thereof, and state the basis for the claim
of privilege.

E. Ifa refusal to respond to a request is based on the grounds that the request is overly

burdensome, identify the number and nature of documents needed to be searched.
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F. If you are unable to produce documents fully responsive to a request, produce to
the extent possible and specify the reasons for your inability to provide a complete production.

G. These requests for production are continuing, and should you acquire any additional
information responsive to these requests, the responses shall be supplemented to provide the

additional information in accordance with the applicable Federal and Local Court Rules.

DOCUMENT REQUESTS
1. All documents relating to any communication between You and Haese related to
any real estate development or project in Sussex County, Delaware or the State of Maryland, in
which Haese or any affiliated entity participated, between June 1, 2016, and the date of Your
response.
2. All documents relating to any communication between You and Haese related to
Insight Homes or any real estate development or project in which Insight Homes has an interest

between June 1, 2016, and the date of Your response.

ACTIVE.133820269.01
